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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF OKLAHOMA


    UNITED STATES OF AMERICA,

                              Plaintiff,

    v.                                                                     Case No. CR-22-142-JFH-3

    BRITTANY WOOD,

                              Defendant.

                                                       ORDER

At the direction of John F. Heil, III, United States District Judge, it is hereby ordered that:

    Sentencing motions filed:                                                     12/29/2023
     Including but not limited to motions for departure or variance and third-point motions

    Sentencing memoranda 1 filed:                                                 1/12/2024
    Restitution requests 2 due to USPO:                                           1/12/2024
    Victim impact statements due to USPO:                                         1/12/2024
    Statements on behalf of Defendant due to USPO:                                1/12/2024
    Sentencing:                                                                   3/14/2024            at 10:00 a.m.

Pursuant to LCrR 12.1(E), any response shall be filed within seven days of any motion’s filing.
Replies are not permitted without leave of Court. If leave is granted, replies shall be limited to
five pages.


Dated this 11th day of December 2023.

                                                                 Bonnie Hackler,
                                                                 Clerk of Court, United States District Court

                                                                 s/ Nick Davis_________________________
                                                                 By: N. Davis, Deputy Clerk

1
    The Court will not consider requests for departure or variance contained only within sentencing memoranda.
2
 Unless there is an agreement as to the amount of restitution, restitution requests should be supported with appropriate
documentation.
